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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

DONNA CURLING, ET AL.,                          )
PLAINTIFFS,                                     )
                                                )
v.                                              )Civil Action No. 1:17-CV-2989-A
                                                )
BRAD RAFFENSPERGER, ET AL.,                     )
DEFENDANTS.                                     )
                                                )

                   NOTICE OF APPEARANCE OF COUNSEL

      Now Comes David E. Oles, of the Oles Law Group, pursuant to L.R. 83.1

and hereby notice my appearance as additional counsel for Plaintiff Ricardo Davis

in the above-styled action. I have previously been admitted to this Court.

      L.R.. 83.1 does not require a party to seek leave for admission or state its

reasons. It is well-established that a party is presumptively entitled to the counsel

of his choice, and that right may be overridden only if “compelling reasons” exist.

See In re BellSouth Corp., 334 F.3d 941, 961 (11th Cir. 2003) However, in respect

for this Court’s prior rulings of December 7, 2023 and December 12, 2023

concerning substitution, Plaintiff Ricardo Davis shows his grounds as set forth on

the Declaration of Ricardo Davis, attached hereto as Exhibit “A”. This appearance

is being filed to avoid delay of the trial and ensure Plaintiff’s ability to fairly

present his case. Plaintiff further adopts as additional grounds Plaintiff’s

Consolidated Reply To Plaintiffs’ and Defendants’ Opposition To Withdraw and
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Substitute of Counsel with the caveat that Plaintiff will forego and not seek to

qualify any additional experts so as to avoid any delay to trial.

      The undersigned requests notice of all hearings and other proceedings in the

above-styled action and service of all orders, pleadings and other papers.

      Submitted this 13th day of December, 2023.

                                           OLES LAW GROUP

                                           /s/David E. Oles
                                           David E. Oles, Esq.
                                           Attorney for Plaintiff Ricardo Davis
                                           GA Bar No. 551544
                                           5755 North Point Pkwy, Ste. 25
                                           Alpharetta, GA 30022
                                           (770) 753-9995
                                           firm@deoleslaw.com

                                    CERTIFICATION

      Pursuant to Local Rule 5.1, the foregoing document has been prepared with

Times New Roman 14 point font. I have served a copy of the document on all

counsel of record on the date listed below via CM/ECF system, which provides a

service copy to all attorneys of record.

      This 13TH day of December, 2023.

                                           OLES LAW GROUP

                                           /s/ David E. Oles
                                           David E. Oles
                                           GA Bar No. 551544



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                        EXHIBIT “A”




                              3
